Dear Mr. Benoit:
We received your request for an opinion regarding the application of the homestead exemption.  You specifically inquire if property held in trust is entitled to the homestead exemption.
Our office has consistently opined that property held in trust is only entitled to the homestead exemption when the settlor of the trust is also one of the trustees or when his spouse is the principal beneficiary of the trust.  See Attorney General Opinions 97-19 and 97-212.
Article 7, Section 20 of the Louisiana Constitution provides for the homestead exemption.  It sets for the requirements for a bona fide homestead: a tract of land with a residence thereon which is owned and occupied by any person.  The property must be occupied as a residence by the owner claiming the exemption.  Although a person may have more than one residence, he is only entitled to one homestead exemption.  See Attorney General Opinion 96-99. Please note that our office is not in a position to determine whether a particular piece of property is entitled to the homestead exemption.  Such a determination is a factual one, which is your responsibility as Assessor.  Your decision is, of course, subject to review by the Louisiana Tax Commission.
As such, we reiterate our prior opinions which provide that property held in trust is only entitled to the homestead exemption when the settlor of the trust is also one of the trustees or when his spouse is the principal beneficiary of the trust.
If you have any questions or comments, please contact our office.
With kindest regards,
Very truly yours,
                              RICHARD P. IEYOUB ATTORNEY GENERAL
                              BY: ____________________________ TINA VICARI GRANT Assistant Attorney General
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